          Case 2:08-cr-00449-WBS Document 273 Filed 06/05/14 Page 1 of 4


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     ATTORNEY FOR DEFENDANT
 8   TIEN THE LE
 9

10            IN THE UNITED STATES DISTRICT COURT FOR THE
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12                     EASTERN DISTRICT OF CALIFORNIA
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14
     UNITED STATES OF AMERICA, )            CR-S-08-449--WBS
15                             )
16
         PLAINTIFF,            )          STIPULATION AND AGREEMENT
                               )          OF THE PARTIES TO CONTINUE
17                v.           )          BOTH SENTENCING AND THE
18                             )          DEFENSE MOTIONS FOR A NEW
     TIEN THE LE, et al.,      )          TRIAL AND JUDGMENT OF
19
                               )          ACQUITAL TO MONDAY,
20                             )          July 28, 2014 AND
                  DEFENDANTS. )           PROPOSED ORDER
21
     __________________________)
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         The parties to this litigation, the United States
25
     of America, represented by Assistant United States
26
     Attorneys Jason Hitt and Jill Thomas, and the
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              Stipulation to Continue both Motions Hearing and Judgment and

               Sentencing to Monday, July 28, 2014(Tien The Le) - 1
             Case 2:08-cr-00449-WBS Document 273 Filed 06/05/14 Page 2 of 4


 1
     defendant, Tien The Le, represented by James R.
 2
     Greiner, hereby agree and stipulate to the following:
 3
                       1- By previous order, this matter was set
 4
     for motions hearing and sentencing on Monday, June 9,
 5
     2014 (See Docket Entry # 271);
 6
                       2. The defense has filed two post-trial
 7
     motions, the first is a motion to vacate the jury
 8
     verdict and for a judgment of acquittal (See Docket
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     Entry # 215) and the second is a motion for a new trial

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     (See Docket entry # 216). Both motions are critical and

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     contain potentially complex issues which the parties

13   agree require the additional time for legal research
14   and briefing.
15                     3. By this Stipulation, the parties
16   collectively now move to continue the motion hearing
17   and sentencing until Monday, July 28, 2014. The parties
18   agree there is no legal need to exclude time pursuant
19   to the Speedy Trial Act.
20                     4. Further, it is anticipated that the
21   Government will file their opposition papers the week
22   of June 9, 2014, and then the defense needs time to
23   file its reply which the defense will do on or before
24   Monday, July 14, 2014, so that the Court has the papers
25   two weeks prior to the hearing date of Monday, July 28,
26   2014.
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                 Stipulation to Continue both Motions Hearing and Judgment and

                  Sentencing to Monday, July 28, 2014(Tien The Le) - 2
          Case 2:08-cr-00449-WBS Document 273 Filed 06/05/14 Page 3 of 4


 1       IT IS SO AGREED TO AND STIPULATED TO BY THE
 2
     PARTIES.
 3

 4                    Each attorney has granted James R. Greiner
 5
     full authority to sign for each individual attorney.
 6

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 9
         Respectfully submitted:
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11                          BENJAMIN B. WAGNER
                            UNITED STATES ATTORNEY
12

13   DATED: 6-2-14          /s/ JASON HITT
14
                                JILL THOMAS
                            _____________________________________
15                          JASON HITT
16                          JILL THOMAS
                            ASSISTANT UNITED STATES ATTORNEYS
17
                            ATTORNEYS FOR THE PLAINTIFF
18
     DATED: 6-2-14          /s/ James R. Greiner
19

20                          _______________________________
21
                            James R. Greiner
                            Attorney for Defendant
22                          TIEN THE LE
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                Stipulation to Continue both Motions Hearing and Judgment and

                 Sentencing to Monday, July 28, 2014(Tien The Le) - 3
          Case 2:08-cr-00449-WBS Document 273 Filed 06/05/14 Page 4 of 4


 1                                    ORDER
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 4                  IT IS SO FOUND AND ORDERED.
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     Dated:   June 4, 2014

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              Stipulation to Continue both Motions Hearing and Judgment and

               Sentencing to Monday, July 28, 2014(Tien The Le) - 4
